                                         IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF ARIZONA - (PHOENIX)




                                                               In Proceedings Under:
In re:                                                         Bankruptcy Chapter 11
CARWASHER INCORPORATED THE                                     2:13-BK-13417-EPB
                                                Debtor



                                                           ARIZONA DEPARTMENT OF REVENUE'S
                                                           WITHDRAWAL OF PROOF OF CLAIM




The Arizona Department of Revenue hereby withdraws its Proof of Claim, dated 08/09/2013, in the amount of

           $451.13   A copy of the claim is attached hereto.




                                                                                                     Digitally signed by Paula Shanahan


                                                                               Paula Shanahan
                                                                                                     DN: cn=Paula Shanahan, o=Arizona Department of
                                                                                                     Revenue, ou=Bankruptcy Unit,
                                                                                                     email=pshanahan@azdor.gov, c=US
                                                                                                     Date: 2015.02.04 15:04:24 -07'00'



                                                                                ARIZONA DEPARTMENT OF REVENUE
         Dated this 02/04/2015
                                                                                Bankruptcy and Litigation Section
                                                                                1600 West Monroe Street
                                                                                Phoenix, AZ 85007




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                       STATE OF ARIZONA - PROOF OF CLAIM FOR ARIZONA DEPARTMENT OF REVENUE



      United States Bankruptcy Court for the District of Arizona - (Phoenix)
                                                      ORIGINAL
                                                                                            Case Number      2:13-BK-13417-EPB
                                                                                            Chapter:         Bankruptcy Chapter 11
In the Matter of: CARWASHER INCORPORATED THE                                                Taxpayer ID      XX-XXXXXXX
                                                                                            Tax Type         WTH
                                                                                            Petition Date:   08/05/2013


                        Total Priority:                                             $446.69
                        Total General Unsecured:                                      $4.44
                        Amount Due as of this Statement:                            $451.13
1. The undersigned is the agent of the Arizona Department of Revenue and is authorized to make this proof of claim on its behalf.
2. The Debtor was at the time of the filing of the petition initiating this case, and still is, indebted to the State of Arizona.
3. The amount of all payments on this claim have been credited and deducted for the purpose of making this claim.
4. The grounds for the liability are for taxes due under the Arizona Revised Statutes.
  a. Secured Lien(s) in the event there is insufficient property for the lien to attach, all claims so entitled will be treated as priority
      under 11 USC Section 507(a)(8).
  b. Unsecured Priority under Section 507(a)(8) of the Bankruptcy Code
  Tax Type Memo                                        Period                     Tax       Penalty      Interest                Total
  WTH                                                 06/30/2013             $444.14         $0.00       $2.55                $446.69
                                                                                         Total Section Priority:              $446.69
  c. Amounts claimed as Priority under Section 1305
  d. Unsecured General Claims
  Tax Type Memo                                          Period                   Tax     Penalty    Interest                    Total
  WTH                                                 06/30/2013                $0.00       $4.44       $0.00                    $4.44
                                                                                    Total General Unsecured:                     $4.44
                                                              Amount Due as of this Statement:                                $451.13
5. No note or other negotiable instrument has been received for the account or any part of it, except
6. No judgement has been rendered on this claim, except...
7. The Department may have a right to setoff. The Department does not waive such right.
8. Make checks payable to the "ARIZONA DEPARTMENT OF REVENUE".
9. All tax returns shall be filed directly with the Arizona Department of Revenue, Bankruptcy Section.

ARIZONA DEPARTMENT OF REVENUE
                                                               Signed:
BANKRUPTCY LITIGATION SECTION
1600 West Monroe Street                                        Dated:    08/09/2013
Phoenix, AZ 85007
                                                               ARIZONA DEPARTMENT OF REVENUE
                                                               Bankruptcy and Litigation Section




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ORIGINAL and ONE COPY FILED ON:

08/09/2013


   COPY of the foregoing mailed on:
   02/04/2015



   BLACK, KELLY KELLY G. BLACK, PLC
   1152 E GREENWAY ST, STE 4
   MESA AZ 85203-4360


   Attorney of Debtor

   Debtor(s)




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